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GAS 245B          (Rev. 06/21) Judgment in a Criminal Case
DC Probation



                                          UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA
                                          SAVANNAH DIVISION
                                                  )
               UNITED STATES OF AMERICA           )    JUDGMENT IN A CRIMINAL CASE
                           v.                     )
                       Amber Kirby                )
                                                  )    Case Number:    4:21CR00109-1
                                                  )    USM Number:     50699-509
                                                  )
                                                  )    Steven Woodward
                                                                                      Defendant’s Attorney
THE DEFENDANT:
‫ ܈‬pleaded guilty to Count                  1

‫ ܆‬pleaded nolo contendere to Count(s)                          which was accepted by the court.

‫ ܆‬was found guilty on Count(s)                          after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Offense                                                                Offense Ended           Count

18 U.S.C. § 1343                  Wire fraud                                                                      September 2020              1

      The defendant is sentenced as provided in pages 2 through                6      of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
‫ ܆‬The defendant has been found not guilty on Count(s)
‫ ܆‬Count(s)                                         ‫ ܆‬is      ‫ ܆‬are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                              October 4, 2021
                                                                              Date of Imposition of Judgment




                                                                              Signature
                                                                               ignat re of Judge
                                                                                           J dge

                                                                              R. Stan Baker
                                                                              United States District Judge
                                                                              Southern District of Georgia
                                                                              Name and Title of Judge


                                                                                October 7, 2021
                                                                              Date
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                                                                PROBATION

You are hereby sentenced to probation for a term of: 3 years.

                                                          MANDATORY CONDITIONS
 1.     You must not commit another federal, state, or local crime.
 2.     You must not unlawfully possess a controlled substance.
 3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
        from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        ‫ ܆‬The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
        substance abuse. (Check, if applicable.)
        ‫ ܈‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
 4.
        restitution. (Check, if applicable.)
 5.     ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 6.     ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
        reside, work, are a student, or were convicted of a qualifying offense. (Check, if applicable.)
 7.     ‫ ܆‬You must participate in an approved program for domestic violence. (Check, if applicable.)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
 on the attached page.
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                                           STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to
keep informed, report to the court about, and bring about improvements in your conduct and condition.

    1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
          you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time
          frame.
    2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
          when you must report to the probation officer, and you must report to the probation officer as instructed.
    3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
          the court or the probation officer.
    4.    You must answer truthfully the questions asked by your probation officer.
    5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
          notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
          within 72 hours of becoming aware of a change or expected change.
    6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
          to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
          doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
          you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
          responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
          10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
          becoming aware of a change or expected change.
    8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
          convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
          probation officer.
    9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
    10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that
          was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a nunchakus or
          tasers).
    11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting permission from the court.
    12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
          require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
          person and confirm that you have notified that person about the risk.
    13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.

Defendant’s Signature _____________________________________________                         Date ______________________________
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                                            SPECIAL CONDITIONS OF SUPERVISION

    1. For the first 10 months of supervised release, you are restricted to your residence at all times except for employment; education;
religious services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities as pre-approved by the officer. The probation officer may monitor compliance via telephone or other virtual means.

   2. You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to obstruct or
tamper with the testing methods.

   3. You must provide the probation officer with access to any requested financial information and authorize the release of any financial
information. The probation office may share financial information with the U.S. Attorney's Office.

   4. You must pay the financial penalty in accordance with the Schedule of Payments sheet of this judgment. You must also notify the court
of any changes in economic circumstances that might affect the ability to pay this financial penalty.

   5. You must inform any employer or prospective employer of your current conviction and supervision status.

   6. You must not be employed in, conduct business in, or otherwise serve in any fiduciary capacity or any position that allows you to have
access to credit or personal information of others unless the probation officer approves such business, employment, or service.

   7. You must complete 40 hours of community service within the first 24 months of supervision. The probation officer will supervise the
participation in the program by approving the program and verifying completed hours.

    8. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)),
other electronic communications or data storage devices or media, to a search conducted by a United States probation officer. Failure to
submit to a search may be grounds for revocation of release. You must warn any other occupants that the premises may be subject to searches
pursuant to this condition. The probation officer may conduct a search under this condition only when reasonable suspicion exists that you
have violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be conducted at
a reasonable time and in a reasonable manner.
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                                                   CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments.

                        Assessment             Restitution            Fine                    AVAA*                  JVTA Assessment**
TOTALS                  $100                   $85,934.90             None

‫܆‬      The determination of restitution is deferred until                              . An Amended Judgment in a Criminal Case (AO 245C)
       will be entered after such determination.

‫܈‬      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

Name of Payee                                  Total Loss***                      Restitution Ordered               Priority or Percentage

Bon Appetit Management
                                                                                                  $42,967.45                    1
Company

Compass Group                                                                                     $42,967.45                    2




TOTALS                                 $                                     $                     85,934.90

‫܆‬      Restitution amount ordered pursuant to plea agreement $

‫܆‬      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܈‬      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      ‫܈‬        the interest requirement is waived for the       ‫܆‬   fine         ‫ ܈‬restitution.
      ‫܆‬        the interest requirement for the        ‫ ܆‬fine       ‫ ܆‬restitution is modified as follows:


*    Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No.114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                                                       SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ‫ ܈‬Lump sum payment of $                     100            due immediately, balance due

          ‫܆‬     not later than                                     , or
          ‫܈‬     in accordance      ‫ ܈‬C,        ‫ ܆‬D,          ‫ ܆‬E, or      ‫ ܆‬F below; or
B    ‫ ܆‬Payment to begin immediately (may be combined with                    ‫ ܆‬C,         ‫ ܆‬D, or          ‫ ܆‬F below); or
C    ‫ ܈‬Payment in equal             Monthly        (e.g., weekly, monthly, quarterly) installments of $       250            over a period of
           36 months     (e.g., months or years), to commence          30 days (e.g., 30 or 60 days) after the date of this judgment; or

D    ‫ ܆‬Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    ‫ ܆‬Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ‫ ܆‬Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬      Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




‫܆‬      The defendant shall pay the cost of prosecution.

‫܆‬      The defendant shall pay the following court cost(s):

‫܆‬      The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
